A094 (Rev.06/09)CommitmenttoAnotherDistrict
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                                 U NITED STATES D ISTRICT COURT                                       ATRGGx
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                                                         forthe                                            ED
                                              WesternDistrictofVirginia                               SEP j 2gjg
                                                                                         M W c.
              United StatesofAmerica                                                    gM         z
                            V.                                                             DE W CLERK ,. ..
                 Curtis Lynn Morgan                               CZSCN0. Z:19-MJ-00091        '      ''

                                                                    Charging District's
                       De#ndant                                     CaseNo. 1:16-00070

                                      CO>     ITM ENT TO ANOTHER DISTRICT

        Thedefendanthasbeen orderedtoappearin the              Southern            Districtof W estVi
                                                                                                    rgini
                                                                                                        a           ,
(Ifapplicable) charleston                     division.Thedefendantm ay need an interpreterforthislanguage:


        The defendant: O willretain an attorney.
                            V isrequestingcourbappointedcounsel.
        Thedefçndantrerhainsin custody afterthe initialappearance.

        ITISORDERED:TheUnitedStatesmarshalmusttransportthedefendant,tojetherwithacopyofthisorder,
to the chafging districtand deliverthe defendantto theUnited Statesmarshalforthatdlstrict,orto anotherofficer
authorizedtoreceivethedefendant.Themarshalorofficerinthechargingdistrictshouldimmediatel
                                                                                       jnotifytheUnited
Statesattorney and theclerk ofcourtforthatdistrictofthedefendant'sarrivalso thatfurtherproceedlngsmay be
promptly scheduled. Theclerk ofthisdistrictmustprom ptly transmitthepapersand any bailto the charging district.



Date:          09/12//019
                                                                                   Judge'ssignature

                                                                RobertS.Ballou,United States Magistrate Judne
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